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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

 UNITED STATES OF AMERICA,             §
                                       §
                     Plaintiff,        §
                                       §
 v.                                    §        CASE NO. 7:18-CV-303
                                       §
 26.000 ACRES OF LAND, MORE OR         §
 LESS, SITUATE IN HIDALGO COUNTY, §
 STATE OF TEXAS; AND THE PHARR         §
 ORATORY OF ST. PHILIP NERI OF         §
 PONTIFICAL RITE, A TEXAS              §
 NON PROFIT CORPORATION,               §
                                       §
                    Defendants.        §
____________________________________________________________________________

                  AGREED ORDER ON PLAINTIFF’S OPPOSED
                    MOTION FOR IMMEDIATE POSSESSION
_____________________________________________________________________________

       After considering Plaintiff’s Opposed Motion for Immediate Possession, the response, and

after a hearing, the Court hereby

       1. GRANTS the United States motion; that its officers, employees, agents, and contractors

           shall have the right to enter upon the Property for the purpose of conducting

           environmental assessments and property surveys, including the right to temporarily

           store, move and remove necessary equipment and supplies; survey, stake out, appraise,

           bore and take soil and/or water samples, and perform any other such work which may

           be necessary and incidental designed to help secure the United States/Mexico border

           within the State of Texas for a period of twelve (12) months. The easement acquired

           by the United States will begin immediately and will end on December 12, 2019.

           Additionally, the United States is granted the right to trim or remove any vegetative or


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          structural obstacles (such as posts, etc, but not building structures) on the property that

          interfere with the aforementioned purpose and work.

The Court further ORDERS:

      2. The United States will give Defendant seventy-two (72) hours notice by e-mail, to

          David Garza, attorney for the Pharr Oratory, at dgarza@garzaandgarza.com, prior to

          entry upon the land. The Defendant will have forty-eight (48) hours to notify the

          Government that entry upon the land as noticed by the Government is not possible due

          to a conflicting event to be held on the Property. If the Defendant invokes this right of

          conflict on two occasions, the Government may then enter the property with seventy-

          two (72) hours notice, but defendant will not be entitled to object or prevent entry.

      3. Separately, the government agrees that it will not enter the land at the following days:

          Saturday, Sunday, or Christmas, April 18, 2019 and April 19, 2019.

      4. All tools, equipment, and other property taken upon or placed upon the land by the

          Government shall remain the property of the Government. No tools, equipment, or

          other property will be stored upon the land by the government, except when in actual

          or imminent use. All property will be removed after the survey and assessment

          easement work is completed within one week.




Signed on this _______ day of __________________, 2018.



                                                     ____________________________________
                                                     Randy Crane
                                                     United States District Judge



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APPROVED & ENTRY REQUESTED:



RYAN K. PATRICK                                /s/ David C. Garza
United States Attorney                         DAVID C. GARZA (Attorney in charge)
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                                               Southern District of Texas ID No. 3778
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Attorney in Charge for Plaintiff




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                                  CERTIFICATE OF SERVICE

        I, John Smith, Assistant United States Attorney for the Southern District of Texas, do

hereby certify that on December 18, 2018, I sent a true and correct copy of the foregoing document

via ECF to the all parties still remaining in this case.


                                                By:        s/John A. Smith, III____________
                                                           JOHN A. SMITH, III
                                                           Assistant United States Attorney




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